Case: 1:14-cr-00438-BYP Doc #: 159 Filed: 01/03/19 1of 2. PagelD #: 1116

IN THE UNITED STATES pisTricr courr 4 ~~ «SPILED
FOR THE NORTHERN DISTRICT OF OHIO JAN =
EASTERN DIVISION 3 2019

CLERK. U.S. DIST.
NORTHERN DISTHIGT OF Oto
YOUNGSTOWN

RYAN D MALONE CASE NO: 1:14CR438
1:17CV2290
Petitioner
Ve

Notice of Appeal:
UNITED STATES OF AMERICA

aS

Respondent

NOTICE OF APPEAL

To The Honorable Judge Of Said Court:

Comes Now, before this Court, Ryan D. Malone (herein after) Malone, pro-
ceeding pro-se, hereby gives Notice of Appeal to this United States District Court
hereby Appeals to the United States Court of Appeals for the Sixth Circuit, form
the Order entered herein on October 31, 2018.(Doc No 154).

Malone, states that this ''Notice of Appeals'' is been filed pursuant to Rule
4(a)(1)(A) of the Federal Rules of Appellate Procedure- Appeal in a Civil Case.

Malone further states, that he was transfered, form FCI, Gilmer, West Ver-
gina on or about October 23, 2018. therefore, he did not receive this Court'
"Order" dening his motion pursuant to 28 U.S.C. § 2255, until December 13, 2018.

at FCI Beaumont, where he was transfered to.

Respectfully Submitted:
Ryan D. Malone, Reg # 30802-160
Pro-Se
Case: 1:14-cr-00438-BYP Doc #: 159 Filed: 01/03/19 2 of 2. PagelD #: 1117

CERTIFICATE OF SERVICE

1, Ryan D. Malone, do hereby state under the penalty of perjury under 28 U.S.
C. § 1746 that I have the same day served the United States District Court for
the Northern District of Ohio by mailing such throught the United States Postal
Sevice, with adequet U.S. postage afixed and addressed as follows, to.
the United States District Court Clerk's Office, Northern District of Ohio, 125
Market Street, Suite 337, Youngstown Ohio. 44503.

Malone hereby files this "Notice Of Appeals" pursuant to the prison mailbox
rule. Under the prison mailbow rule, a prisoner's pleading is deemed filed on the
date on which it is submitted to prison authories for mailing. See Houston v. Lack
487 U.S. 266, 270-72, 108 S. Ct. 2379, 101 L E.d 2d. 245(1988).

Submitted on this date, \2-d<
Respectfully Submitted:

Tay Do Malone.

Ryan D. Malone, # 30802-160
Pro-Se.

Beaumont Med:

P.O. Box, 26040

Beaumont Tx, 77720

SCRIBED AND SWORN to before me this SG _ day December 2018.

 

Signature of Notary Public

My Commission Expires: / _/

 

CASE MANAGER,
authorized by the Act of July 7, 1955, as amended,
fo administer oaths (18 U.S.C.$4004).
